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                                                                               UNITED STATES DISTRICT COURT
                                               15                             NORTHERN DISTRICT OF CALIFORNIA
                                                                                 (SAN FRANCISCO DIVISION)
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                                               18   IN RE: CATHODE RAY TUBE (CRT)                         Case No. 07-5944 SC
                                                    ANTITRUST LITIGATION                                   MDL No. 1917
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                                               20                                               DEFENDANTS’ JOINT MOTION IN
                                                    This Document Relates to:                   LIMINE NO. 9 TO EXCLUDE CERTAIN
                                               21                                               EXPERT TESTIMONY OF JERRY A.
                                               22   Sharp Electronics Corp., et al. v.          HAUSMAN
                                                    Hitachi Ltd., et al., Case No. 13-cv-1173
                                               23                                               Oral Argument Requested
                                               24   Sharp Electronics Corp., et al. v.
                                                    Koninklijke Philips Elecs., N.V., et al.,   Date: August 7, 2015
                                               25   Case No. 13-cv-2776                         Time: 10:00 a.m.
                                               26                                               Judge: Hon. Samuel Conti
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                                                1                              NOTICE OF MOTION AND MOTION
                                                2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                3            PLEASE TAKE NOTICE that on August 7, 2015, at 10:00 a.m., or as soon thereafter
                                                4   as the matter may be heard, in Courtroom 1, 17th Floor, 450 Golden Gate Avenue, San
                                                5   Francisco, California, before the Honorable Samuel Conti, the undersigned Defendants will
                                                6   and hereby do move the Court for an Order excluding certain testimony of Sharp Electronics
                                                7   Corporation’s and Sharp Electronics Manufacturing Company of America, Inc.’s
                                                8   (collectively, “Sharp”) expert Dr. Jerry A. Hausman pursuant to Rules 403 and 702 of the
                                                9   Federal Rules of Evidence.
                                               10            This motion is based upon this Notice of Motion, the accompanying Memorandum of
                                               11   Points and Authorities in support thereof, the complete files and records in this action, oral
                                               12   argument of counsel, and such other and further matters as this Court may consider.
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                                               13                        MEMORANDUM OF POINTS AND AUTHORITIES
                                               14   I.       STATEMENT OF THE ISSUE
                                               15            Whether certain testimony of Sharp’s economic expert, Dr. Jerry A. Hausman, should
                                               16   be excluded at trial where his analysis addresses a rule of reason “information exchange”
                                               17   claim whereas Sharp’s pleadings, throughout the entire duration of this proceeding, have set
                                               18   forth only a per se price-fixing claim.
                                               19   II.      INTRODUCTION
                                               20            In all three iterations of its complaint, Sharp has alleged that Defendants participated
                                               21   in a long-running conspiracy to coordinate and fix the prices of CRTs in violation of Section 1
                                               22   of the Sherman Act. Sharp’s allegation of a price-fixing conspiracy is consistent with all of
                                               23   the other Plaintiffs’ allegations in this MDL. Despite its consistent pleading of a price-fixing
                                               24   claim, Sharp is now improperly attempting to insert a new claim into the case based upon
                                               25   (purportedly) anticompetitive information exchanges. And, Sharp is attempting to assert this
                                               26   new claim not through an amendment of its complaint but through the opinion of its
                                               27   economist. Not only is this new claim untimely and procedurally improper, it severely
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                                                         DEFENDANTS’ JOINT MOTION IN LIMINE NO. 9 TO EXCLUDE CERTAIN EXPERT TESTIMONY OF
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                                                1   prejudices Defendants, who have taken discovery and developed their defenses based upon
                                                2   Sharp’s pleaded claim rather than an unpleaded claim created by Sharp’s economist.
                                                3          There are two distinct violations under Section 1 of the Sherman Act that may involve
                                                4   evidence of information exchanges. First, information exchanges may be circumstantial
                                                5   evidence to support a claim of horizontal price-fixing, which is analyzed under the per se
                                                6   standard. Second, a party may claim that an agreement to exchange information, separate
                                                7   from any price-fixing agreement, had an anticompetitive effect on a relevant market. This
                                                8   type of alleged information exchange violation is analyzed under the rule of reason, which
                                                9   generally calls for a detailed examination of all relevant circumstances and a weighing of all
                                               10   pro- and anti-competitive effects. Sharp has never alleged a rule of reason anticompetitive
                                               11   information exchange violation in its pleadings and its pleadings are devoid of allegations that
                                               12   would support a rule of reason analysis.
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                                               13          Defendants only recently became aware of Sharp’s intention to add a new claim based
                                               14   upon a rule of reason information exchange violation during pretrial exchanges of jury
                                               15   instructions and verdict forms. Sharp’s new claim came as a surprise to Defendants because
                                               16   Sharp has never sought to amend its complaint to add a claim beyond its price-fixing
                                               17   allegations. Sharp should not be allowed to present evidence of this unpleaded claim at trial
                                               18   given its delay in identifying the new claim. Defendants would be severely prejudiced if this
                                               19   new claim was allowed at this late stage because it would alter the nature of the litigation and
                                               20   require reopening discovery and summary judgment briefing on the new claim. Therefore,
                                               21   Sharp should be barred from advancing its new claim through its economist, Dr. Jerry
                                               22   Hausman.
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                                                1                                When an expert’s opinion is not based upon the facts and theories
                                                2   of the case, the opinion must be excluded as irrelevant. Because Sharp does not allege that it
                                                3   was harmed by anticompetitive information exchanges, Dr. Hausman’s testimony about the
                                                4   effect of the information exchanges and the resulting damages Sharp suffered, as discussed in
                                                5   paragraphs 17-77 of his report, is not relevant to any issue in the case and must be excluded.
                                                6          Sharp is acutely aware of the distinction between horizontal price-fixing and
                                                7   information exchanges. In 2008, Sharp Corporation pleaded guilty to fixing the prices of
                                                8   TFT-LCD panels sold to customers Dell, Motorola, and Apple. Plea Agreement, United
                                                9   States v. Sharp Corp., No. 08-cr-00802 (N.D. Cal. Dec. 8, 2008), Dkt. 9-1. In the guilty plea,
                                               10   Sharp Corporation admitted that its officers and employees “participated in a conspiracy with
                                               11   other major TFT-LCD producers, the primary purpose of which was to fix the price of TFT-
                                               12   LCD sold to” Dell, Motorola, and Apple. Id. ¶ 4(c)-(e). The cooperation and non-prosecution
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                                               13   clauses in the plea extended to Sharp Corporation’s “related entities,” defined as “its
                                               14   subsidiaries engaged in the sale or production of TFT-LCD.” Id. ¶¶ 13, 15. Sharp Electronics
                                               15   Corporation, a plaintiff in this case, is a subsidiary of Sharp Corporation that fits within the
                                               16   definition of a related entity in the guilty plea and is represented by the same counsel in this
                                               17   case as Sharp Corporation was for its guilty plea in the LCD case. See id. at 15 (signature
                                               18   block identifying counsel). As part of the guilty plea, Sharp Corporation agreed to pay a fine
                                               19   of $120 million. Id. ¶ 8. In the ensuing civil actions — which included Sharp Electronics
                                               20   Corporation as a defendant — Sharp initially fought vigorously to be able to deny that the
                                               21   evidence showed that it entered into agreements with its competitors to charge particular
                                               22   prices to Dell, Motorola, and Apple, advocating instead that “Sharp and the competitors
                                               23   exchanged information including price information relating to those three customers.” Sharp
                                               24   Corporation’s Response to Indirect Purchaser Plaintiffs’ Objections to Special Master’s June
                                               25   14, 2011 Order re Requests for Admission at 5, In re TFT-LCD (Flat Panel) Antitrust Litig.,
                                               26   No. 07-md-01827 (N.D. Cal. July 8, 2011), Dkt. 3054 (emphasis in original). Sharp focused
                                               27   on the legal distinctions between price-fixing agreements and information exchanges and
                                               28   argued: “Exchanges of price information have an ambivalent status under the antitrust law.
                                                     DEFENDANTS’ JOINT MOTION IN LIMINE NO. 9 TO EXCLUDE CERTAIN EXPERT TESTIMONY OF
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                                                1   On the one hand, ‘the dissemination of price information is not itself a per se violation of the
                                                2   Sherman Act.’ . . . On the other hand, ‘[i]nformation exchange is an example of a facilitating
                                                3   practice that can help support an inference of a price-fixing agreement.’” Id. (citations
                                                4   omitted). However, the Court rejected Sharp’s “bad-faith” effort to “blatantly contradict its
                                                5   admission of guilt.” Order Granting Indirect Purchaser Plaintiffs’ Objections to Special
                                                6   Master’s Denial of Motion to Deem Sharp Corporation to Have Admitted Requests for
                                                7   Admission at 7, In re TFT-LCD (Flat Panel) Antitrust Litig., No. 07-md-01827 (N.D. Cal.
                                                8   Aug. 12, 2011), Dkt. 3287.
                                                9          Here, Sharp, in short, is attempting to change the fundamental nature of its claim, and
                                               10   Sharp is doing so purposefully. This change should not be permitted.
                                               11   III.   FACTS
                                               12          On March 15, 2013, Sharp filed a complaint in the Northern District of California
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                                               13   which, along with state law claims, included a claim for relief for a violation of Section 1 of
                                               14   the Sherman Act, 15 U.S.C. § 1, alleging that Defendants “combined and conspired to raise,
                                               15   fix, maintain or stabilize the prices of CRTs sold in the United States.” Complaint ¶ 236,
                                               16   Sharp Electronics Corp., v. Hitachi Ltd., No. 13-cv-01173 (N.D. Cal.), Dkt. 1. On March 20,
                                               17   2013, Sharp filed an administrative motion to relate its case to this MDL. Administrative
                                               18   Motion Pursuant to Civil L.R. 3-12 to Consider Whether Cases Should Be Related, Dkt. 1604.
                                               19   In the motion, Sharp asserted that its case should be related to this MDL because “[b]oth
                                               20   actions involve allegations that defendants conspired to fix the prices of Cathode Ray Tubes
                                               21   (‘CRTs’) and seek the same form of relief under Section 1 of the Sherman Act, Sections 4 and
                                               22   16 of the Clayton Act, and the laws of California and other states.” Id. at 1. On March 26,
                                               23   2013, Sharp’s action was reassigned to this MDL as a related case. Related Case Order, Dkt.
                                               24   1608. On October 28, 2013, Sharp filed a First Amended Complaint (“FAC”). Dkt. 2030-3.
                                               25   Sharp’s FAC also alleged that Defendants conspired to “fix, raise, stabilize and maintain
                                               26   prices for CRTs.” Id. ¶ 2; see also id. ¶¶ 5, 147, 224, 225, 252.
                                               27          On June 13, 2014, Sharp filed its Second Amended Complaint (“SAC”), which is the
                                               28   operative complaint in this action. Dkt. 2621. In the SAC, Sharp once again alleges that
                                                      DEFENDANTS’ JOINT MOTION IN LIMINE NO. 9 TO EXCLUDE CERTAIN EXPERT TESTIMONY OF
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                                                1   “Defendants and their co-conspirators formed an international cartel that conducted a long-
                                                2   running conspiracy extending at a minimum from at least March 1, 1995, through at least
                                                3   December 2007. . . The purpose and effect of this conspiracy was to fix, raise, stabilize and
                                                4   maintain prices for CRTs.” Id. ¶ 2. Sharp alleges that it “suffered a direct, substantial and
                                                5   reasonably foreseeable injury as a result of Defendants’ and their co-conspirators’ conspiracy
                                                6   to raise, fix, stabilize or maintain CRT prices at supra-competitive levels.” Id. ¶ 223. Sharp’s
                                                7   first claim for relief is pursuant to Section 1 of the Sherman Act based upon the fact that
                                                8   Defendants “combined and conspired to raise, fix, maintain or stabilize the prices of CRTs
                                                9   sold in the United States.” Id. ¶ 250. The SAC contains no discussion of a relevant product
                                               10   or geographical market.     The SAC contains no allegations of anticompetitive effects of
                                               11   information exchanges — separate from those in furtherance of the alleged conspiracy — in a
                                               12   defined market.   Sharp has dismissed all of the state law claims in the SAC; therefore, the
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                                               13   only remaining claim is under Section 1 of the Sherman Act.
                                               14          On April 15, 2014, Sharp served the expert report of Jerry A. Hausman. Declaration
                                               15   of Lucius B. Lau, Ex. A (“Def. Ex. A”) (Expert Report of Jerry A. Hausman (Apr. 15, 2014)
                                               16   (“Hausman Report”)).
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                                               10          Dr. Hausman filed a supplemental report on July 3, 2014 and a rebuttal report on
                                               11   September 26, 2014. Def. Ex. B (Supplemental Expert Report of Jerry A Hausman (July 3,
                                               12   2014)); Def. Ex. C (Rebuttal Expert Report of Jerry A. Hausman (Sept. 26, 2014)).
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                                               15   Neither the supplemental report nor the rebuttal report contains an evaluation of the effect of
                                               16   any price-fixing agreement on the prices for CRTs.
                                               17          Sharp’s proposed jury instructions and verdict form show that Sharp is advancing a
                                               18   rule of reason claim, based on alleged anticompetitive information exchanges, even though
                                               19   none its complaints did and even though Dr. Hausman never uses the words rule of reason.
                                               20   IV.    ARGUMENT
                                               21          A.      Dr. Hausman’s Testimony About The Anticompetitive Effects
                                                                   Of Information Exchanges On CPT Prices Should Be Excluded
                                               22
                                                                   Because It Is Irrelevant To Sharp’s Claims
                                               23
                                                                   1.     Sharp’s Complaint Alleges A Violation Of § 1 Of The
                                               24                         Sherman Act Based Upon A Price-Fixing Conspiracy
                                               25          There are two distinct claims under Section 1 of the Sherman Act that may involve
                                               26   evidence of information exchanges. First, there is a claim of horizontal price-fixing where the
                                               27   information exchanges are circumstantial evidence supporting the inference of collusion. See
                                               28   Todd v. Exxon Corp., 275 F.3d 191, 198 (2d Cir. 2001) (“Information exchange is an example
                                                     DEFENDANTS’ JOINT MOTION IN LIMINE NO. 9 TO EXCLUDE CERTAIN EXPERT TESTIMONY OF
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                                                1   of a facilitating practice that can help support an inference of a price-fixing agreement.”).
                                                2   When a plaintiff alleges that information exchanges were held in furtherance of a price-fixing
                                                3   conspiracy, the conduct is considered a per se violation of the Sherman Act. See, e.g., In re
                                                4   Mercedes-Benz Anti-Trust Litig., 157 F. Supp. 2d 355, 359-62 (D.N.J. 2001) (finding
                                                5   complaint sufficiently stated a claim for a per se violation of the Sherman Act where the
                                                6   conduct alleged was “substantially more than a simple exchange of information” and
                                                7   information exchanges were held in furtherance of the alleged conspiracy).
                                                8          There is a separate claim under Section 1 of the Sherman Act that involves an
                                                9   allegation that an agreement to exchange of information, without a claim of a price-fixing
                                               10   agreement, has an anticompetitive effect on the relevant market. In that situation, courts will
                                               11   analyze the legality of the information exchanges under the rule of reason to determine
                                               12   whether the practice unreasonably restrains competition. See Todd, 275 F.3d at 198-99
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                                               13   (“There is a closely related but analytically distinct type of claim, also based on § 1 of the
                                               14   Sherman Act, where the violation lies in the information exchange itself—as opposed to
                                               15   merely using the information exchange as evidence upon which to infer a price-fixing
                                               16   agreement. This exchange of information is not illegal per se, but can be found unlawful
                                               17   under a rule of reason analysis.”). A rule of reason analysis is required because information
                                               18   exchanges may also be procompetitive by assisting firms in analyzing industry conditions and
                                               19   facilitating adjustments to changes in the business cycle. See United States v. U.S. Gypsum
                                               20   Co., 438 U.S. 422, 441 n.16 (1978) (“The exchange of price data and other information
                                               21   among competitors does not invariably have anticompetitive effects; indeed such practices can
                                               22   in certain circumstances increase economic efficiency and render markets more, rather than
                                               23   less, competitive. For this reason, we have held that such exchanges of information do not
                                               24   constitute a per se violation of the Sherman Act.”); In re Baby Food Antitrust Litig., 166 F.3d
                                               25   112, 118 (3d Cir. 1999) (recognizing that information exchanges are not considered a per se
                                               26   antitrust violation because such practices can be pro-competitive and benefit the consumer).
                                               27
                                               28
                                                     DEFENDANTS’ JOINT MOTION IN LIMINE NO. 9 TO EXCLUDE CERTAIN EXPERT TESTIMONY OF
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                                                1          Sharp’s SAC, which only brings one claim for a violation of Section 1 of the Sherman
                                                2   Act, alleges a horizontal price-fixing conspiracy among Defendants and nothing more.
                                                3   Sharp’s claim for relief under Section 1 of the Sherman Act reads:
                                                4                                       First Claim for Relief
                                                                     (Violation of Section 1 of the Sherman Act, 15 U.S.C. § 1)
                                                5
                                                           248. Plaintiffs incorporate by reference all the above allegations as if fully set
                                                6          forth herein.
                                                7
                                                           249. From March 1, 1995, the exact date being unknown to Plaintiffs and
                                                8          exclusively within the knowledge of Defendants, Defendants and their co-
                                                9          conspirators entered into a continuing contract, combination or conspiracy to
                                                           unreasonably restrain trade and commerce in violation of Section 1 of the
                                               10          Sherman Act (15 U.S.C. § 1) by artificially reducing or eliminating competition
                                               11          in the United States.

                                               12          250. In particular, Defendants have combined and conspired to raise, fix,
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                                                           maintain or stabilize the prices of CRTs sold in the United States.
                                               13
                                               14          251. As a result of Defendants’ and their co-conspirators’ unlawful conduct,
                                                           prices for CRTs were raised, fixed, maintained, and stabilized in the United
                                               15          States.
                                               16          252. The contract, combination or conspiracy among Defendants and their co-
                                               17          conspirators consisted of a continuing agreement, understanding, and concerted
                                                           action among Defendants and their co-conspirators.
                                               18
                                                           253. For purposes of formulating and effectuating their contract, combination
                                               19
                                                           or conspiracy, Defendants and their co-conspirators did those things they
                                               20          contracted, combined or conspired to do, including:
                                               21                  a. participating in meetings and conversations to discuss and agree upon
                                               22          the prices and supply of CRTs;
                                               23                  b. communicating in writing and orally to fix prices, allocate customers
                                                           and restrict output;
                                               24
                                               25                  c. agreeing to manipulate prices and supply of CRTs sold in the United
                                                           States, and to allocate customers of such products, in a manner that deprived
                                               26          direct purchasers of free and open competition;
                                               27
                                                                   d. issuing price announcements and price quotations in accordance with
                                               28          the agreements reached;
                                                     DEFENDANTS’ JOINT MOTION IN LIMINE NO. 9 TO EXCLUDE CERTAIN EXPERT TESTIMONY OF
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                                                1                    e. selling CRTs to customers in the United States at non-competitive
                                                           prices;
                                                2
                                                3                  f. exchanging competitive sensitive information in order to facilitate
                                                           their conspiracy;
                                                4
                                                                     g. agreeing to maintain or lower production capacity; and
                                                5
                                                6                    h. providing false statements to the public to explain increased prices for
                                                           CRTs.
                                                7
                                                           254. As a result of Defendants’ unlawful conduct, Plaintiffs have been injured in
                                                8          their businesses and property in that they have paid more for CRT Products than
                                                9          they otherwise would have paid in the absence of Defendants’ unlawful conduct.
                                                           Sharp seeks no damages from any defendant on commerce between Toshiba and
                                               10          Sharp or any Sharp affiliate.
                                               11
                                                    SAC ¶¶ 248-54 (emphases added).
                                               12
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                                                           There is nothing in the claim for relief to notify Defendants of Sharp’s intent to bring a
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                                               13
                                                    rule of reason claim based upon anticompetitive information exchanges. In fact, the only
                                               14
                                                    mention of information exchanges in the first claim for relief explicitly states that the
                                               15
                                                    exchanges were held in furtherance of the alleged conspiracy. SAC ¶ 253(f). Evidence of
                                               16
                                                    information exchanges held in furtherance of a conspiracy would constitute circumstantial
                                               17
                                                    evidence of the existence of the alleged conspiracy, not a distinct claim from relief.
                                               18
                                                           Although Rule 8(d)(2) of the Federal Rules of Civil Procedure allows for alternative
                                               19
                                                    statements of a claim “either in a single count or . . . in separate ones,” there is no reasonable
                                               20
                                                    reading of Sharp’s first claim for relief that would put Defendants on notice that Sharp was
                                               21
                                                    claiming that Defendants’ information exchanges, isolated from any alleged price-fixing
                                               22
                                                    conspiracy, unreasonably restrained competition. Accord Pierson v. Orlando Reg’l
                                               23
                                                    Healthcare Sys., Inc., 619 F. Supp. 2d 1260, 1274 (M.D. Fla. 2009) (finding pleading
                                               24
                                                    insufficient where plaintiff attempted to allege two separate violations of the Sherman Act in
                                               25
                                                    one count because it was “confusing both for the Court and for the Defendants and does not
                                               26
                                                    give fair notice to the Defendants of that against which they must defend”). When the intent
                                               27
                                                    is to plead alternative claims under Section 1 of the Sherman Act, the distinct claims need to
                                               28
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                                                1   be set forth in a clear manner. See, e.g., Cason-Merenda v. Detroit Med. Center, 862 F. Supp.
                                                2   2d 603, 605, 641 (E.D. Mich. 2012) (plaintiff set forth separate counts for its alternative
                                                3   allegations of a Sherman Act violation for (i) per se antitrust violation through an agreement
                                                4   to fix wages, and (ii) “rule of reason” claim that the Defendant hospitals conspired among
                                                5   themselves to exchange wage information in a manner that harmed competition).
                                                6          The Court should decline to read a rule of reason claim into the case because it has not
                                                7   been properly alleged. When a plaintiff fails on a per se claim, courts do not revert to a rule
                                                8   of reason analysis unless specifically pleaded. See, e.g., Texaco Inc. v. Dagher, 547 U.S. 1, 7
                                                9   n.2 (2006) (rejecting per se analysis and declining to conduct a rule of reason analysis where
                                               10   plaintiffs “ha[d] not put forth a rule of reason claim”); BanxCorp v. Bankrate Inc.,
                                               11   No. 07-3398, 2011 WL 6934836, at *9 (D.N.J. Dec. 30, 2011) (“[P]laintiffs pleading
                                               12   exclusively per se violations — as opposed to pleading rule of reason violations in the
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                                               13   alternative — must be careful. If the court determines that the restraint at issue is sufficiently
                                               14   different from the per se archetypes to require application of the rule of reason, the plaintiff’s
                                               15   claims will be dismissed.” (internal quotation marks and citation omitted)); United States v.
                                               16   Gen. Elec. Co., 869 F. Supp. 1285, 1301 & n. 32 (S.D. Ohio 1994) (rejecting General
                                               17   Electric’s request for a “rule of reason” instruction, which would have created an alternative
                                               18   basis upon which the jury could have found General Electric guilty because “[t]o have gone
                                               19   beyond the price fixing charge would have constituted an improper constructive amendment
                                               20   of the indictment”). Accordingly, Sharp should only be allowed to move forward on its claim
                                               21   of a horizontal price-fixing conspiracy.
                                               22                 2.   Sharp Should Not Be Allowed To Add A New Claim For A
                                                                       Violation Of The Sherman Act Through Anticompetitive
                                               23
                                                                       Information Exchanges
                                               24          A complaint is intended to put the defendant on notice of the evidence it needs to
                                               25   adduce during discovery in order to defend against the plaintiff’s allegations and prepare for
                                               26   trial. See, e.g., Brown v. Califano, 75 F.R.D. 497, 498 (D.D.C. 1977) (A complaint should
                                               27   “give fair notice of the claim being asserted so as to permit the adverse party the opportunity
                                               28   to file a responsive answer, prepare an adequate defense . . . sharpen the issues to be litigated
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                                                1   and to confine discovery and the presentation of evidence at trial within reasonable bounds”
                                                2   (citations omitted)). Consistent with Sharp’s representation in its motion to relate its case to
                                                3   this MDL, Sharp’s allegations of a price-fixing agreement in the SAC are virtually identical to
                                                4   every other Plaintiff’s allegations in this MDL. Defendants relied upon these allegations of
                                                5   price-fixing in developing the fact and expert discovery records in this MDL as well as
                                                6   preparing for the upcoming trial.
                                                7          Defendants were not aware of Sharp’s intent to bring a rule of reason claim based
                                                8   upon anticompetitive information exchanges until the exchange of pretrial submissions that
                                                9   included draft verdict forms and jury instructions. Defendants have not taken discovery on
                                               10   the issue of anticompetitive information exchanges or developed defenses to the new claim
                                               11   because there was no notice that it was an issue in this litigation. This lack of discovery is
                                               12   significant because a claim for a violation of the Sherman Act through anticompetitive
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                                               13   information exchanges requires an entirely different analysis under the rule of reason than a
                                               14   per se horizontal price-fixing claim. See Todd, 275 F.3d at 198 (describing a rule of reason
                                               15   claim as “analytically distinct” from a per se claim under Section 1 of the Sherman Act); see
                                               16   also Bhan v. NME Hosps., Inc., 929 F.2d 1404, 1410, 1413 (9th Cir. 1991) (distinguishing
                                               17   how courts analyze per se and rule of reason cases — specifically, that the rule of reason
                                               18   requires a burden-shifting analysis to determine “the actual effects that the challenged restraint
                                               19   has had on competition in a relevant market” and “whether the practice is unreasonable on
                                               20   balance”). To allow Sharp to move forward on this unpleaded claim at this late stage would
                                               21   cause prejudice and undue delay because fairness would require reopening discovery and
                                               22   summary judgment briefing to address the new claim. See, e.g., Morongo Band of Mission
                                               23   Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir.1990) (upholding denial of leave to amend
                                               24   claims, in part, because the “new claims set forth in the amended complaint would have
                                               25   greatly altered the nature of the litigation and would have required defendants to have
                                               26   undertaken, at a late hour, an entirely new course of defense”); In re Mutual Funds Inv. Litig.,
                                               27   608 F. Supp. 2d 670, 671 (D. Md. 2009) (denying motion to amend pleading to add new
                                               28   claims in MDL that had been pending for five years because there was no good cause for
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                                                1   delay in seeking amendment and allowing amendment would have required reopening
                                                2   discovery and summary judgment briefing).
                                                3          Notably, Sharp has never attempted to add this new claim even though it has amended
                                                4   its complaint multiple times. In granting Sharp’s most recent motion to amend, this Court
                                                5   noted that the “proposed amendment does not raise novel issues in this case.” Order Granting
                                                6   Sharp’s Motion for Leave to Amend, Dkt. 2612 (June 9, 2014), at 5 (discussing the factors
                                                7   that should be considered in allowing leave to amend as outlined in Foman v. Davis, 371 U.S.
                                                8   178 (1962)). Adding a new claim for a Sherman Act violation through information exchanges
                                                9   would have undoubtedly raised novel issues because no other Plaintiffs in this MDL have
                                               10   tried to assert that distinct claim. Sharp has improperly shielded its intention to pursue the
                                               11   separate “information exchange” claim by failing to include it in any of its amended
                                               12   complaints. Sharp should have been aware of this potential information exchange claim when
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                                               13   it filed its original complaint, and its repeated failure to include the claim in any version of its
                                               14   complaint weighs against allowing Sharp to further amend to add the new claim at this late
                                               15   stage. See id. at 4 (listing “repeated failure to cure deficiencies by amendments previously
                                               16   allowed” as one of the Foman factors that weighs against allowing an amendment).
                                               17          Defendants would have been able to move to dismiss the rule of reason claim at the
                                               18   pleading stage if Sharp had included the claim in any version of its complaint. A challenge to
                                               19   the SAC would likely have been successful because the SAC does not meet the pleading
                                               20   requirements of a rule of reason claim. See Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570
                                               21   (2007) (finding that a complaint must include “enough facts to state a claim to relief that is
                                               22   plausible on its face”). To begin with, Sharp’s SAC fails to define the relevant geographical
                                               23   and product markets and allege any anticompetitive effect of Defendants’ conduct in the
                                               24   relevant markets. See Orchard Supply Hardware LLC v. Home Depot USA, Inc., 967 F. Supp.
                                               25   2d 1347, 1363 (N.D. Cal. 2013) (“In order to plead a viable claim of a rule of reason violation,
                                               26   Plaintiff must allege sufficient facts to support its claim that these agreements harmed
                                               27   competition with a relevant geographic and product market.” (citation omitted)). Moreover,
                                               28
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                                                1   Sharp does not include any factual allegation to establish which information exchanges, as
                                                2   opposed to alleged agreements on price, had an anticompetitive effect in any defined market.
                                                3          Defendants were not put on notice of Sharp’s intention to add a rule of reason
                                                4   information exchange claim to its complaint through Dr. Hausman’s report. At the outset,
                                                5   Sharp filed its SAC after Dr. Hausman’s report and failed to include any allegation of an
                                                6   anticompetitive information exchange violation. Defendants are entitled to rely on the most
                                                7   recent pleading in developing a defense strategy. See Massey v. Helman, 196 F.3d 727, 735
                                                8   (7th Cir. 2000) (“[W]hen a plaintiff files an amended complaint, the new complaint
                                                9   supersedes all previous complaints and controls the case from that point forward” and the new
                                               10   complaint “wipes away prior pleadings”).          Moreover, Sharp never indicated that Dr.
                                               11   Hausman’s report was meant to add a distinct claim for anticompetitive information
                                               12   exchanges. Dr. Hausman does not even refer to the rule of reason in either his reports or
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                                               13   deposition testimony. It is not Defendants’ burden to guess whether Sharp’s claims have
                                               14   changed based upon its expert’s opinion in the absence of an amendment to the pleadings.
                                               15   See, e.g., Richardson v. Rose Transport, Inc., No. 11-0317, 2014 WL 121690, at *5 (E.D. Ky.
                                               16   Jan. 13, 2014) (“[T]he fact that an expert witness opined about a defendants’ negligence does
                                               17   not, on its own, put the defendants on notice that the plaintiffs are pursuing claims that have
                                               18   not been alleged in either the original complaint or the first amended complaint. Litigants
                                               19   often forgo valid claims for a variety of reasons. The burden is not on the defendant to
                                               20   discern which claims the plaintiff intends to bring against it when the complaint makes clear
                                               21   exactly which claims are being brought.” (emphasis in original) (citation omitted)); McCarthy
                                               22   v. Dun & Bradstreet Corp., 372 F. Supp. 2d 694, 701 n.8 (D. Conn. 2005) (finding discussion
                                               23   of new claim in expert report did not put defendants on notice of new claim because “[w]hen a
                                               24   complaint accurately and specifically sets out its claim” a defendant is not required “based on
                                               25   the plaintiff's conduct in litigation, to guess at what other claims the plaintiff might intend to
                                               26   bring in the future”).
                                               27          Sharp’s reference to an information exchange violation in its supplemental discovery
                                               28   responses to certain Defendants — not the undersigned Defendants — is also insufficient to
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                                                1   provide notice of the new claim. Def. Ex. D at 15-16 (Sharp’s First Supplemental Responses
                                                2   and Objections to Defendants Hitachi Electronic Devices (USA), Inc. and Samsung SDI
                                                3   America, Inc.’s First Set of Interrogatories (Feb. 26, 2014)). Again, Sharp filed its SAC after
                                                4   these discovery responses and failed to include any allegation of an anticompetitive
                                                5   information exchange violation. Notice of new allegations through discovery alone fails to
                                                6   satisfy the notice requirement of Rule 8 of the Federal Rules of Civil Procedure where the
                                                7   new allegations are not included in an amended complaint. See Pena v. Taylor Farms Pac.,
                                                8   Inc., No. 13-cv-01282, 2014 WL 1330754, at *5 (E.D. Cal. Mar. 28, 2014) (“Further, in most
                                                9   instances, notice may not be effected through discovery alone because such notice will usually
                                               10   fail to satisfy Rule 8. . . . Instead, particularly in light of the Supreme Court's subsequent
                                               11   decisions in [Twombly and Iqbal] a plaintiff must amend the complaint or otherwise
                                               12   incorporate new allegations.”) (citing Pickern v. Pier 1 Imports (U.S.), Inc., 457 F.3d 963,
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                                               13   968-69 (9th Cir. 2006)). Moreover, Sharp’s vague and conclusory assertion that Defendants
                                               14
                                               15
                                               16
                                               17
                                               18                           did not put Defendants on notice of the new claim. Def. Ex. D at 15
                                               19   (emphasis added); see also Bassani v. Sutton, No. 08-3012, 2010 WL 1734857, at *4-5 (E.D.
                                               20   Wash. Apr. 28, 2010) (finding “vague and conclusory” statements in interrogatory responses
                                               21   “setting forth only ill-defined allegations” were insufficient to put defendant on notice of new
                                               22   claims to warrant defendants taking discovery on the new claims).
                                               23          In fact, the undersigned Defendants were not aware of this procedurally improper
                                               24   attempt to introduce a new claim into the case through discovery responses until Sharp’s
                                               25   counsel pointed Defendants to these discovery responses during a meet and confer on jury
                                               26   instructions. Sharp was only responding to discovery propounded by two Defendants, Hitachi
                                               27   and Samsung SDI, who are not signatories to this motion. This isolated response to discovery
                                               28
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                                                1   propounded by a limited subset of Defendants does not provide sufficient notice of an entirely
                                                2   new claim to all Defendants.
                                                3                  3.      Dr. Hausman’s Report Examines Anticompetitive
                                                                           Effects Of Information Exchanges Under A Rule Of
                                                4
                                                                           Reason Analysis
                                                5          Rule 702(a) of the Federal Rules of Evidence permits expert testimony by a witness
                                                6   “qualified as an expert by knowledge, skill, experience, training, or education” if “the expert’s
                                                7   scientific, technical, or other specialized knowledge will help the trier of fact to understand the
                                                8   evidence or to determine a fact in issue.” Daubert v. Merrell Dow Pharms., Inc., 509 U.S.
                                                9   579, 591 (1993). This provision of Rule 702 is aimed at determining whether the expert’s
                                               10   testimony is relevant to the claims at issue. Id. “Expert testimony which does not relate to
                                               11   any issue in the case is not relevant and, ergo, non-helpful.” Id. (citation omitted). “‘An
                                               12
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                                                    additional consideration under Rule 702 — and another aspect of relevancy — is whether
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                                               13
                                                    expert testimony proffered in the case is sufficiently tied to the facts of the case that it will aid
                                               14
                                                    the jury in resolving a factual dispute.’ The consideration has been aptly described . . . as one
                                               15
                                                    of ‘fit.’” Id. (quoting United States v. Downing, 753 F.2d 1224, 1242 (3d Cir. 1985)).
                                               16
                                                           Sharp cannot have its expert provide an opinion on a rule of reason claim that it has
                                               17
                                                    never pleaded. When an expert’s opinion is not based upon the facts and theories of the case,
                                               18
                                                    the opinion does not “fit” and must be excluded for that reason. See, e.g., Group Health Plan,
                                               19   Inc. v. Philip Morris USA, Inc., 344 F.3d 753, 760-61 (8th Cir. 2003) (upholding exclusion of
                                               20   expert who purported to provide the necessary causal link between defendants’ alleged
                                               21   conduct and plaintiff’s claimed damages because there was “a disconnect between [the
                                               22   expert’s] work and [the plaintiff’s] theory of liability”).
                                               23          There is a major disconnect between Dr. Hausman’s work and Sharp’s claim of a
                                               24   price-fixing conspiracy as alleged in its SAC. Sharp alleges that it was injured as a result of
                                               25   Defendants’ conspiracy to fix CRT prices. See SAC ¶ 223 (“As direct purchasers of CRTs,
                                               26   Plaintiffs have suffered a direct, substantial and reasonably foreseeable injury as a result of
                                               27   Defendants’ and their co-conspirators’ conspiracy to raise, fix, stabilize or maintain CRT
                                               28   prices at supra-competitive levels.” (emphasis added)).
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                                                3
                                                4
                                                5
                                                6                                                                                          This is a
                                                7   classic rule of reason analysis of the anticompetitive effects of information exchanges that
                                                8   does not “fit” with Sharp’s allegations of a horizontal price-fixing conspiracy among
                                                9   Defendants. Accord Daubert, 509 U.S. at 591.
                                               10
                                               11
                                               12
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                                               13                                                                                    Despite being
                                               14   filed after his report, Sharp’s SAC does not contain any references to these relevant product or
                                               15   geographical markets.
                                               16
                                               17   Sharp also does not limit its complaint to the North American market, instead alleging that the
                                               18   “overall CRT conspiracy set and/or affected worldwide prices (including prices in the United
                                               19   States)” and referring to Defendants’ conduct as “a global conspiracy.” SAC ¶¶ 151, 175.
                                               20   This is further evidence that Sharp never intended to bring an information exchange violation
                                               21   claim in the alternative to its horizontal price-fixing agreement claim. See Knevelbaard
                                               22   Dairies v. Kraft Foods, Inc., 232 F.3d 979, 986 (9th Cir. 2000) (“When a per se violation such
                                               23   as horizontal price fixing has occurred, there is no need to define a relevant market or to show
                                               24   that the defendants had power within the market.”).
                                               25
                                               26
                                               27
                                               28
                                                     DEFENDANTS’ JOINT MOTION IN LIMINE NO. 9 TO EXCLUDE CERTAIN EXPERT TESTIMONY OF
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                                                1
                                                2                                          Id. ¶ 24. Indeed, his report is completely devoid of any
                                                3   analysis of the effect of the price-fixing conspiracy alleged in Sharp’s complaint.        Dr.
                                                4   Hausman’s evaluation of the effect of the information exchanges will not serve to help the
                                                5   jury understand the evidence or determine a fact in issue because Sharp does not allege it was
                                                6   injured by anticompetitive information exchanges. See, e.g., McCarthy v. Target Corp., No.
                                                7   09-1548, 2012 WL 967853, at *6-7 (N.D. Ill. Mar. 19, 2012) (excluding expert testimony
                                                8   where “opinions are not relevant or helpful because they do not relate to the factual
                                                9   allegations pled by [plaintiff] as the basis for her claims”).
                                               10          Furthermore, Dr. Hausman’s testimony cannot be used to support Sharp’s allegation of
                                               11   a price-fixing agreement among Defendants.
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                                               14                                                                                             Any
                                               15   attempt by Sharp to use Dr. Hausman’s testimony as evidence that the alleged price-fixing
                                               16   conspiracy affected prices would be improperly meshing the distinct legal concepts of
                                               17   anticompetitive information exchanges and price-fixing agreements. See, e.g., Williamson Oil
                                               18   Co. v. Philip Morris USA, 346 F.3d 1287, 1323 (11th Cir. 2003). In Williamson Oil, cigarette
                                               19   wholesalers brought an antitrust class action alleging a price-fixing conspiracy by tobacco
                                               20   companies. The district court entered summary judgment in favor of the manufacturers
                                               21   because the wholesalers had failed to demonstrate the existence of a “plus factor” necessary to
                                               22   create an inference of a price-fixing conspiracy. Id. at 1291. On appeal, the wholesalers
                                               23   challenged the district court’s exclusion of their expert’s testimony concerning the plus
                                               24   factors. Id. at 1321. The Eleventh Circuit upheld the exclusion because the expert “defined
                                               25   ‘collusion’ to include conscious parallelism. Put differently, he did not differentiate between
                                               26   legal and illegal pricing behavior, and instead simply grouped both of these phenomena under
                                               27   the umbrella of illegal, collusive price fixing.” Id. at 1323. Similarly, Dr. Hausman should
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                                                                                    JERRY A. HAUSMAN
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                                                1   not be allowed to provide testimony which improperly lumps together the distinct legal
                                                2   concepts of anticompetitive information exchanges and collusive price-fixing.
                                                3          Accordingly, Dr. Hausman’s testimony about the anticompetitive effects of
                                                4   Defendants’ information exchanges, as well as the quantification of Sharp’s damages as a
                                                5   result of the information exchanges, which are discussed in his expert report in paragraphs
                                                6   17-77, should be excluded.
                                                7          B.      Even If Dr. Hausman’s Testimony Has Some Relevance, Its
                                                                   Probative Value Is Substantially Outweighed By A Danger Of
                                                8
                                                                   Confusing The Issues And Misleading The Jury
                                                9          Pursuant to Rule 403 of the Federal Rules of Evidence, a “court may exclude relevant
                                               10   evidence if its probative value is substantially outweighed by a danger of one or more of the
                                               11   following: unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting
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                                                    time, or needlessly presenting cumulative evidence.” Because expert testimony can be both
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                                                    powerful and misleading, trial judges should exercise more Rule 403 control over expert
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                                                    testimony than lay witness testimony. Daubert, 509 U.S. at 595; see also United States v.
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                                                    Hoac, 990 F.2d 1099, 1103 (9th Cir. 1993) (“Otherwise admissible expert testimony may be
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                                                    excluded under Fed. R. Evid. 403 if its probative value is substantially outweighed by the
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                                                    danger of unfair prejudice, confusion of the issues, or undue delay.”). To the extent Dr.
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                                                    Hausman’s testimony has any relevance to Sharp’s claims as pleaded, the probative value is
                                               19   substantially outweighed by a danger of confusing the issues and misleading the jury. As
                                               20   discussed above, Dr. Hausman’s report only evaluates the effect of alleged anticompetitive
                                               21   information exchanges on the prices for CPTs. There is a significant danger that his analysis
                                               22   will confuse and mislead the jury into thinking the relevant issue is the anticompetitive effects
                                               23   of the information exchanges apart from proof of the alleged price-fixing conspiracy. For that
                                               24   reason, Dr. Hausman’s testimony should be excluded under Rule 403.
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                                                1   V.       CONCLUSION
                                                2            For these reasons, the Court should grant Defendants’ motion and preclude Dr.
                                                3   Hausman from providing expert testimony concerning the effect of Defendants’ information
                                                4   exchanges on the North American CPT market and Sharp’s alleged damages that resulted
                                                5   from the information exchanges, which are discussed in his expert report in paragraphs
                                                6   17-77.
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                                                                                              SA, et al. and Sears, Roebuck and Co., et al. v.
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                                                                                              Technicolor SA, et al.
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                                               16
                                                    document has been obtained from each of the above signatories.
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                                                1                                  CERTIFICATE OF SERVICE
                                                2          On February 13, 2015, I caused a copy of “DEFENDANTS’ JOINT MOTION IN
                                                3   LIMINE NO. 9 TO EXCLUDE CERTAIN EXPERT TESTIMONY OF JERRY A.
                                                4   HAUSMAN” to be electronically filed via the Court’s Electronic Case Filing System, which
                                                5   constitutes service in this action pursuant to the Court’s order of September 29, 2008.
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